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                                                                   CLERKS OFFICE U.S. DIST. COURT
                                                                      AT CHARLOTTESVILLE, VA
                        IN THE UNITED STATES DISTRICT COURT                  FILED
                       FOR THE WESTERN DISTRICT OF VIRGINIA              02/19/2019
                                CHARLOTTESVILLE DIVISION              JULIA C. DUDLEY, CLERK
                                                                      BY: /s/ J. JONES
                                                                          DEPUTY CLERK
   ELIZABETH SINES, ET AL.,                   CASE NO. 3:17-CV-00072
                             Plaintiffs,
   v.                                                ORDER
   JASON KESSLER, ET AL.,
                                                     JUDGE NORMAN K. MOON
                                 Defendants.


         In accordance with the accompanying memorandum opinion, the Court hereby DENIES

  Michael Peinovich’s motions to quash Plaintiffs’ subpoenas, (dkt. 226), and to compel Plaintiffs’

  compliance with Fed. R. Civ. P. 45, (dkt. 229). Peinovich’s objections to U.S. Magistrate Judge

  Hoppe’s opinion denying the aforementioned motions, (dkt. 309), are hereby OVERRULED.

         It is so ORDERED.

         The Clerk of the Court is hereby directed to send a certified copy of this Order to Michael

  Peinovich and all counsel of record.
                      19th day of February, 2019.
         Entered this _____
